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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS


 VINH MAC,                                           ) Case No. 1:19-cv-11706-LTS
                                                     )
                       Plaintiff,                    )
                                                     ) NOTICE OF VOLUNTARY
                 vs.                                 ) DISMISSAL
                                                     )
 ACACIA COMMUNICATIONS, INC.,                        )
 DAVID J. ALDRICH, PETER Y. CHUNG,                   )
 BENNY P. MIKKELSEN LAURINDA Y.                      )
 PANG, STAN J. REISS, JOHN RITCHIE,                  )
 VINCENT ROCHE, and MURUGESAN                        )
 SHANMUGARAI,                                        )
                                                     )
                       Defendants.                   )


       Notice is hereby given pursuant to Rule 41(a)(1)(A) of the Federal Rules of Civil Procedure

that plaintiff Vinh Mac (“Plaintiff”) voluntarily dismisses the claims in the captioned action (the

“Action”) with prejudice. Because this notice of dismissal is being filed with the Court before

service by defendants of either an answer or a motion for summary judgment, Plaintiff’s dismissal

of the Action is effective upon the filing of this notice.

Dated: September 11, 2019                              Respectfully submitted,

                                                        LEVI & KORSINSKY, LLP

                                                    By: /s/ Shannon L. Hopkins
 LEVI & KORSINSKY, LLP                              Shannon L. Hopkins (BBO No. 657485)
 Donald J. Enright (to be admitted pro hac vice)    1111 Summer Street, Suite 403
 Elizabeth K. Tripodi (to be admitted pro hac vice) Stamford, CT 06905
 1101 30th Street, N.W., Suite 115                  Tel: (203) 992-4523
 Washington, DC 20007                               shopkins@zlk.com
 Tel: (202) 524-4290
 Fax: (202) 337-1567                                Attorneys for Plaintiff
 Email: denright@zlk.com
         etripodi@zlk.com

 Attorneys for Plaintiff
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                               CERTIFICATE OF SERVICE

       I hereby certify that on this, the 11th day of September, 2019, I caused a true and correct

copy of the foregoing Notice of Voluntary Dismissal to be served by CM/ECF to the parties

registered to the Court’s CM/ECF system.



                                                    /s/ Shannon L. Hopkins
                                                    Shannon L. Hopkins




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